                                              Case 3:24-cv-00292-VC Document 42 Filed 05/24/24 Page 1 of 3




                                   1             Scott F. Gibson (Pro Hac Vice)
                                                 SGibson@DentonPeterson.com
                                    2             Jay Parmelee (Pro Hac Vice)
                                                   Jay@DentonPeterson.com
                                    3
                                    4
                                                      1930 N. ARBOLEDA ROAD, SUITE 200
                                    5                      MESA, ARIZONA 85213
                                                         TELEPHONE: (480) 325-9900
                                                         FACSIMILE: (480) 325-9901
                                    6                 HTTPS://ARIZONABUSINESSLAWYERAZ.COM
                                                        Attorneys for Plaintiffs
                                    7
                                    8               Heywood G. Friedman
                                               heywood@friedmanlawoffices.com
                                    9               Friedman + Bartoumian
                                                 30401 Agoura Road, Suite 200
                                   10            Agoura Hills, California 91301
                                                  Telephone: (818) 707-1488
                                   11              Facsimile: (810) 707-0490
                                                    Attorneys for Plaintiffs
                                   12
1930 N. ARBOLEDA ROAD, SUITE 200




                                   13                                       UNITED STATES DISTRICT COURT
        MESA, AZ 85213




                                   14                                  NORTHERN DISTRICT OF CALIFORNIA
                                   15
                                        CG Enterprises Holdings, LLC, a California                 Case No. 3:24-cv-00292-VC
                                   16   limited liability company; and Stephen M.
                                   17
                                        Coon, an individual,
                                                                                                   FIRST STATUS REPORT
                                   18                    Plaintiffs,                                  TO THE COURT
                                        vs.
                                   19
                                   20   WSP USA, Inc., a New York corporation, WSP
                                        USA Buildings, Inc., a New York corporation;
                                   21   kW Mission Critical Engineering, D.P.C., a
                                   22   New York design professional corporation; and
                                        DOES 1 through 20, inclusive,
                                   23
                                                          Defendants.
                                   24
                                   25
                                               Pursuant to the Court’s Order of February 26, 2024, the parties jointly advise the Court
                                   26
                                        as follows:
                                   27          A related case, WSP USA, Inc. v. Stephen Coon, American Arbitration Association
                                   28   Case No. 01-24-0000-0148, has been assigned to arbitrator David C. Singer. On April 12,

                                                                                            1
                                              Case 3:24-cv-00292-VC Document 42 Filed 05/24/24 Page 2 of 3




                                    1   2024, Mr. Singer issued the attached Interim Order on Claimant’s Motion for Interim Relief.

                                    2   A hearing on the case currently is scheduled for July 22-25 in New York City.

                                    3
                                    4         Dated May 24, 2024.

                                    5
                                                                                    DENTON PETERSON DUNN, PLLC
                                    6
                                                                                    /s/ Jay Parmelee
                                    7
                                                                                    Scott F. Gibson
                                    8                                               Jay Parmelee
                                                                                    1930 N. Arboleda Road, Suite 200
                                    9                                               Mesa, AZ 85213
                                   10                                               Attorneys for Plaintiffs

                                   11
                                                                                    HOLLAND & KNIGHT, LLP
                                   12
1930 N. ARBOLEDA ROAD, SUITE 200




                                   13                                               /s/ Justin Kadoura (with permission)
        MESA, AZ 85213




                                                                                    Nipun J. Patel
                                   14                                               Justin M. Kadoura
                                   15                                               1650 Market Street, Suite 3300
                                                                                    Philadelphia, Pennsylvania 19103
                                   16                                               Attorneys for Defendants
                                   17
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                   27
                                   28

                                                                                2
                                               Case 3:24-cv-00292-VC Document 42 Filed 05/24/24 Page 3 of 3




                                    1
                                    2                                  CERTIFICATE OF SERVICE

                                    3   I hereby certify that on May 24, 2024, I electronically filed the foregoing with the Clerk of

                                    4   Court using the CM/ECF system, which will then send a notification of such filing (NEF) to

                                    5   the following:

                                    6
                                                      Samuel J. Stone
                                    7                 Holland & Knight, LLP
                                    8                 400 South Hope Street, 8th Floor
                                                      Los Angeles, California 90071
                                    9
                                                      Nipun J. Patel
                                   10
                                                      Justin M. Kadoura
                                   11                 1650 Market Street, Suite 3300
                                                      Philadelphia, Pennsylvania 19103
                                   12                 Attorneys for Defendants
1930 N. ARBOLEDA ROAD, SUITE 200




                                   13
        MESA, AZ 85213




                                   14
                                        /s/ Lindsey Rice
                                   15
                                   16
                                   17
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                   27
                                   28

                                                                                  3
